Case 7:19-cv-00302-MFU Document 39 Filed 08/02/19 Page 1 of 1 Pageid#: 1063

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Franklin C ounty,Virginia ,                    )
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V.                                             ) CivilA ction N o.7:19cv302
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PurduePharm a L.P.,etaI.,                      )
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                                   TR AN SFER ORDER

       The JudicialPanel on M ultidistiictLitigation entered Conditional Transfer Order N o.

C7-0-2804ptlrsuantto 28U.S.C.j 1407 on August1,2019,transfeningtheabovelisted civil
action to theUnited StatesDistrictCourtfortheN orthern Districtof01li0,and assigning itto the

Honorable Dan A.Polster,forcoordinated orconsolidated ptetrialproceedingswith like actions

previously transferred tothatdiskict.

       Pm suantto thatOrder,thiscaseishereby

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transferredto the United StatesDistrictCout'tfortheNorthern DistrictofOhio to the Honorable
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D an A .Polster.

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